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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
                    In the Matter                              :       Chapter 7
                                                               :       Case No. 21-10699 (DSJ)
                          -of-                                 :
                                                               :
                  KOSSOFF PLLC,                                :
                                                               :
                                                               :
                                            Debtor.            :
                                                               :
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ORDER COMPELLING MITCHELL H. KOSSOFF TO (1) PRODUCE INFORMATION
AND DOCUMENTS REQUIRED BY THE CHAPTER 7 TRUSTEE; (2) APPEAR FOR
     EXAMINATION AT SECTION 341 MEETINGS OF CREDITORS; AND
      (3) OTHERWISE COOPERATE WITH THE CHAPTER 7 TRUSTEE

                 The Court having entered the Order Designating Mitchell H. Kossoff (“Kossoff”)

as the Responsible Officer of the Debtor [Docket No. 93] (the “Designation Order”) finding that

Kossoff has the obligation as the responsible officer of Kossoff PLLC (the “Debtor“) to perform

the duties of the Debtor and to timely cooperate with Albert Togut, not individually but solely in

his capacity as the Chapter 7 Interim Trustee (the “Trustee”), which is necessary for the

administration of this estate; and following the Trustee’s unsuccessful efforts to obtain

Kossoff’s full cooperation, the Trustee having made the Application for an Order, inter alia,

Compelling Kossoff to (1) Produce Information Requested by the Chapter 7 Trustee; (2) Appear

for Examinations Under Oath at the Bankruptcy Code Section 341 Meeting of Creditors; and

(3) Otherwise Cooperate with the Trustee [Docket No. 36] (the “Motion”)1; and the Trustee and

Kossoff having filed supplemental submissions concerning the Motion and privileges asserted by

Kossoff [Docket Nos. 116, 125]; and upon the record of the hearings held on June 24, 2021 and

July 22, 2021 (the “July 22 Hearing”) and the decision reached at the conclusion thereof, that


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    Capitalized terms that are not defined herein shall have the meanings ascribed to them in the Motion and the
    Trustee’s Response to Kossoff Supplemental Submission Pursuant to Order Designating Kossoff as the
    Responsible Officer of the Debtor [Docket No. 125].
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included that there is a required records doctrine requiring the Debtor to have maintained

documents and information, among other things, required by Rule 1.15 of the New York State

Rules of Professional Conduct, see 22 N.Y.C.R.R. 1200.0, for records that are to be kept in a law

firm’s course of business, which render production of those records categorically exempt from

the act of production privilege; and upon all of the prior pleadings and proceedings had herein;

and after due deliberation and sufficient cause being shown therefor; it is hereby

               ORDERED, that the collective entity doctrine overrides and renders inapplicable

privileges, including the Fifth Amendment Privilege against self-incrimination and the act of

production privilege, for acts of production being compelled to be performed by Kossoff who, by

reason of the Designation Order, is acting not in his individual capacity but in his representative

capacity on behalf of the Debtor; and it is further

               ORDERED, that Kossoff, not individually but in his representative capacity of

the Debtor, is directed to take all steps necessary to perform the Debtor’s duties pursuant to the

Order for Relief and the Designation Order, including the preparation of the Debtor’s Schedules,

no later than fourteen (14) days from the date hereof, provided, however, that if Kossoff is

unable to timely prepare and produce the Requested Schedules, he shall file a written report with

the Court within fourteen (14) days of the date hereof, explaining the reason for such failure or
delay; and it is further

               ORDERED, that for the reasons set forth on the record of the July 22 Hearing,

Kossoff, not individually but in his representative capacity as the Court-appointed responsible

officer of the Debtor, is directed to take all steps necessary to obtain all of the Requested

Information and the Additional Disputed Records including but not limited to the known

creditors of the Debtor, current and former clients of the Debtor, internal bank receipts and

disbursements records, and accounts receivable records of the Debtor, and all IOLA records

required to be maintained by the Debtor, in his possession, custody or control, and to produce

them and/or cause them to be produced to the Trustee no later than fourteen (14) days from the

date hereof; provided, however, that if Kossoff is unable to obtain and timely produce the

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Requested Information and the Additional Disputed Records, he shall file a written report with

the Court within fourteen (14) days of the date hereof, explaining the reason for such failure or

delay; and it is further

                ORDERED, that, for the reasons set forth on the record of the July 22 Hearing,

Kossoff is directed to appear for examination under oath not individually but in his

representative capacity on behalf of the Debtor at the Section 341 Meeting in this case and at any

adjourned dates of such meeting; and it is further

                ORDERED, that, for the reasons set forth on the record of the July 22 Hearing,

Kossoff, not individually but in his representative capacity, is directed to otherwise fully

cooperate with the Trustee on behalf of the Debtor in accordance with Bankruptcy Code section

521; and it is further

                ORDERED, that the Trustee shall serve a copy of this Order upon counsel for

Kossoff by email not later that one (1) business day after the date of entry of this Order; and it is

further

                ORDERED, that compliance with this Order may be, but is not required to be,

compelled by the issuance and service of subpoenas by the Trustee by email, FedEx or personal

service pursuant to Rule 45 of the Federal Rules of Civil Procedure and Bankruptcy Rules

2004(c) and 9016; and it is further

                ORDERED, that this order is without prejudice to the Trustee’s right to seek

other or further documents or information pertaining to the Debtor and its financial affairs from

Kossoff or from any other person, subject to their assertion of applicable privileges and




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objections.


Dated: New York, New York
      August 5, 2021
                                         s/ David S. Jones
                                      HONORABLE DAVID S. JONES
                                      UNITED STATES BANKRUPTCY JUDGE




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